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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

KERMIT H. POWDRILL, II,                           §
                                                  §
                 Petitioner,                      §
v.                                                §   Civil Action No. 3:19-CV-436-L-BH
                                                  §
UNITED STATES OF AMERICA,                         §
                                                  §
                 Respondent.                      §

                                              ORDER

       With respect to the Petition for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241, the

Findings, Conclusions and Recommendation of the United States Magistrate Judge (“Report”) (Doc.

13) was entered on October 14, 2021, recommending that the court: (1) dismiss with prejudice

Petitioner’s claims challenging the calculation of his sentences; and (2) dismiss without prejudice

for lack of jurisdiction his claims challenging the validity of his sentences. No objections to the

Report were received as of the date of this order, and the deadline for filing objections has expired.

       Having considered the Petition for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241

(Doc. 3), the file, record in this case, and Report, the court determines that the findings and

conclusions of the magistrate judge are correct, and accepts them as those of the court. Accordingly,

the court: (1) dismisses with prejudice Petitioner’s claims challenging the calculation of his

sentences; and (2) dismisses without prejudice for lack of jurisdiction his claims challenging the

validity of his sentences.

       Considering the record in this case and pursuant to Federal Rule of Appellate Procedure

22(b), Rule 11(a) of the Rules Governing §§ 2254 and 2255 proceedings, and 28 U.S.C. § 2253(c),



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the court denies a certificate of appealability.* The court determines that Petitioner has failed to

show: (1) that reasonable jurists would find this court’s “assessment of the constitutional claims

debatable or wrong;” or (2) that reasonable jurists would find “it debatable whether the petition states

a valid claim of the denial of a constitutional right” and “debatable whether [this court] was correct

in its procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). In support of this

determination, the court accepts and incorporates by reference the Report. In the event that

Petitioner files a notice of appeal, he must pay the $505 appellate filing fee or submit a motion to

proceed in forma pauperis on appeal.

        It is so ordered this 15th day of November, 2021.



                                                                 _________________________________
                                                                 Sam A. Lindsay
                                                                 United States District Judge




        *
            Rule 11 of the Rules Governing §§ 2254 and 2255 Cases provides as follows:

                  (a)       Certificate of Appealability. The district court must issue or deny a certificate of
        appealability when it enters a final order adverse to the applicant. Before entering the final order, the
        court may direct the parties to submit arguments on whether a certificate should issue. If the court
        issues a certificate, the court must state the specific issue or issues that satisfy the showing required
        by 28 U.S.C. § 2253(c)(2). If the court denies a certificate, the parties may not appeal the denial but
        may seek a certificate from the court of appeals under Federal Rule of Appellate Procedure 22. A
        motion to reconsider a denial does not extend the time to appeal.

                  (b)      Time to Appeal. Federal Rule of Appellate Procedure 4(a) governs the time to
        appeal an order entered under these rules. A timely notice of appeal must be filed even if the district
        court issues a certificate of appealability.

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